Case 1:21-mj-03579-JMC Document1 Filed 12/22/21 Page 1of1

Case 2:18-cr-00302-MJH *SEALED* Document 7 (Court only) Filed 11/02/18 Page 1 of 1

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

Vv. . WARRANT FOR ARREST
JOHN DOE 5
Case Number: 2:18-CR-00302-MJH
*SEALED*
To: The United States Marshal
and any Authorized United States Officer
YOU ARE HEREBY COMMANDED tc arrest JOHN DOE 5,

and bring him or her forthwith to the nearest magistrate judge to answer a(n)

(:y Superseding

‘A Indictment information £1 Superseding Information [ Complaint

Indictment Probsiiéi
ae ‘Probation, sad
pyOrder of —_- Violation Folatign _() Supervised Release
“ Court © Notice tu rae Violation. Petition

charging him or her with (brief description of offense)

Identity theft — fraudulent transfer, possession or use of a means of Identification

in violation of United States Title:Section(s)

18 USC Sections 1028(a)(7) and 1028(b)(1)(D)

  
 
  
 

 

 

‘Susan Parmeter... fi Deputy Clerk
jName of Issuing Officer” ff Title of Issuing Officer
Sivan Frans: 11/02/2018 Erie

 

«Signature of Issuing Officer © Date and Location

Bond to be set by U.S. Magistrate Judge,-.

RETURN

This warrant was received and executed with the arrest of the above-named defendant

i TE

 

Date Received Name and Tille of Arresting Officer

 

Date of Arrest Signature of Arresting Officer
